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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                  Case No.

 ERIC LEMOINE, an individual
 Resident of Florida, and TTC PERFORMANCE
 PRODUCTS, INC., d/b/a BLACK ACES
 TACTICAL, a corporation registered under the
 Laws of Florida,

        Plaintiffs,
 v.

 MOSSBERG CORPORATION, a Delaware
 Corporation, and O.F. MOSSBERG & SONS,
 INC., a corporation residing in Connecticut,

       Defendants.
 __________________________________/

                VERIFIED COMPLAINT FOR PATENT INFRINGEMENT:
                          INJUNCTIVE RELIEF SOUGHT


        Plaintiffs, ERIC LEMOINE AND BLACK ACES TACTICAL (collectively, “Black

 Aces”), by and through undersigned counsel, sues Defendants O. F. MOSBERG

 CORPORATION, and O.F. MOSSBERG & SONS, INC., (collectively, “MOSSBERG’), for acts

 of patent infringement, and alleges as follows:

                                  NATURE OF THE ACTION

 1.     This is an action for patent infringement in connection with MOSSBERG’s making,

 importing, offering for sale and selling shotguns that contain and comprise patented proprietary

 technology covered by a United States Patent duly owned and/or exclusively licensed and used

 by Lemoine and Black Aces. MOSSBERG then used the patented technology to manufacture

 firearms and shotguns that comprise Plaintiff’s shotgun magazine receiver assembly, and these

 firearms and shotguns have been widely advertised online, sold, offered for sale, and/or


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 displayed and offered through important and relevant weapon industry trade shows throughout

 the United States and through a vast dealer network. MOSSBERG's infringing conduct has

 damaged Black Aces and inflicted irreparable harm.

 2.      Black Aces seeks, inter alia, disgorgement of MOSSBERG’s profits from the sale of

 Infringing products, and injunctive relief.

                                  JURISDICTION AND VENUE

 3.      This Court has original jurisdiction over the claims for patent infringement under

 28 U.S.C. §§ 1331 and 1338(a) in that said claims arise under the Patent Laws of the United

 States, 35 U.S.C. § 1 et seq.”

 4.      This Court has in personam jurisdiction over MOSSBERG pursuant to FLA. STAT. §

 48.193, in that: (a) MOSSBERG is residing, operating, conducting, engaging or carrying on a

 business, in the State of Florida; (b) MOSSBERG has committed tortious acts within the State of

 Florida; and (c) MOSSBERG is engaged in substantial and not isolated activity within the State

 of Florida.

 5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because MOSSBERG

 has conducted acts in this District, and substantial part of the events giving rise to the claim

 occurred in this District.

                                           THE PARTIES

 6.      Eric Lemoine is a resident of Florida and owns Black Aces. Black Aces is a corporation

 organized and existing under the laws of Florida, and has operated in, and sold goods in the

 United States, and specifically, in the Southern District of Florida, and does so under exclusive

 permission from Lemoine.




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 7.      Upon information and belief, MOSSBERG CORPORATION is a corporation organized

 and existing under the laws of the State of Delaware, with its principal place of business located

 at 7 Grasso Avenue, North Haven, CT, and has orchestrated all of the acts complained of.

 8.      Upon information and belief, O. F. MOSSBERG & SONS, INC., resides in Connecticut,

 and has the same residence and location as Defendants MOSSBERG CORPORATION, and

 actively controls the activities and the acts complained of.

                                    BLACK ACES’ BUSINESS

 9.      Well prior to the acts complained of, Black Aces has been involved in the business of

 manufacturing high quality firearm components and shotguns, comprising patented and cutting

 edge technology, that are sold in a variety of markets.

 10.     Black Aces firearm components are uniquely designed and have been enormously

 successful in the market, and have met substantial success in the relevant market, and channels

 of trade.

 11.     Black Aces products are sold throughout the United States and are sold to businesses and

 directly to the public through “business-to business” dealer channels and through retail channels

 respectively.

 12.     As a result of the originality and high quality of its products, Black Aces has

 developed a reputation for excellence and innovation which has generated several million dollars

 in sales, and many loyal customers.

                                     BLACK ACES’ PATENT

 13.     On June 24, 2014, U.S. Patent No. 8,756,846 (the “’846 Patent”), for a shotgun magazine

 receiver assembly, was issued by the United States Patent and Trademark Office, that includes a

 receiver body having a trigger assembly opening, a removable magazine opening, a shotgun



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 barrel opening, a shell ramp, and a bolt and slide. A true and correct copy of the ‘846 Patent is

 attached as Composite Exhibit “A” hereto.

 14.    Lemoine is the owner of the ‘846 Patent and Black Aces has the exclusive right to use,

 make, sell and offer for sale shotguns with the patented technology.

 15.    The ‘846 Patent is in full force and effect as of the date of this Verified Complaint and all

 times relevant to the allegations herein.

 16.     At all times relevant, Black Aces began manufacturing and selling a line of shotguns and

 shotgun magazine receivers embodying the technology covered by the ‘846 Patent. These

 products are made in America, use American materials, and made by American craftsman.

 17.     Black Aces’ shotguns and shotgun magazine receivers embody the technology claimed

 in the ‘846, have been a market success, and are marked with Plaintiffs’ ‘846 Patent number in

 accordance with the requisite statutes.

                          MOSSBERG’S ACTS OF INFRINGEMENT

 18.    On February 27, 2018, Black Aces purchased a Mossberg Model 590M model shotgun.

 19.    The purchased shotgun contains an infringing shotgun magazine receiver assembly.

 20.    The parties have a history of negotiations and discussions regarding the licensed use of

 Black Aces’ patented technology, which includes the following communications and meetings:

         A.      In February 2013, Tom Taylor and John MacLellan, both known to be agents of,
 representatives of, and employees of MOSSBERG, entered Black Aces’ booth at the Acusport
 business conference, in Fort Worth Texas, where Black Aces was displaying its patent-pending
 receiver line. Tom Taylor specifically inquired about the patent status. Mr. Taylor was told that
 the receiver is patent pending. They exchanged business cards, and had agreed to speak further
 in the future. Attached as Exhibit B is an email trail confirming the meeting at the Acusport
 show.

        B.      In September 2013, Tom Taylor and Lemoine have a telephone conference. Tom
 Taylor requests a sample receiver and sample weapon. Tom Taylor stated that Black Aces
 should prepare pricing in manufacturing capabilities. Black Aces becomes further aware
 MOSSBERG is interested the patented technology. Subsequent to this meeting, Lemoine
 shipped several of the patent pending receivers, magazines and a complete shotgun to Mossberg

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 for their evaluation and documented the shipment in Black Aces’ official ATF acquisition and
 disposition book.

         C.    After receiving the evaluational units, in October 2013, Lemoine meets with Tom
 Taylor at NASGW, in Dallas Texas. Black Aces was informed that it will be authorized to order
 parts from MOSSBERG, and MOSSBERG will monitor the quantity of parts to gauge popularity
 in the weapon platform. MOSSBERG is considering an OEM deal.

        D.      In February 2014, Black Aces makes its first bulk order with OF MOSSBERG &
 SONS, INC, and in September 2014, Black Aces receives its first order from MOSSBERG, and
 throughout the remainder of 2014 Lemoine demonstrates there is significant market interest in a
 shotgun having Mossberg components and the now patented magazine receiver.

         E.      In August 2015, John MacLellan, Vice President of Sales and Marketing, directs
 MOSSBERG’s Director of Sales, Bill Brown, to meet with Black Aces at NASGW for October
 2015, and the parties agree on an appointment time and date. At that meeting, Bill Brown stated
 that he was instructed to follow up, and that there would be an opportunity on a mass-market
 civilian level for Black Aces. (Exhibit C).

         G.      In September 2015, Bill Brown requested that a DT model be delivered to
 MOSSBERG. A DT model is short barrel 12 gauge model shotgun that uses the Black Aces
 Tactical patented receiver. It is around this time that Mr. Tim Blazek purchases from Black Aces
 several of the patented shotgun magazine receivers. The purchase was curious given that the
 shipping address was the address for OF MOSSBERG & SONS. Tim Blazek is Chief of
 Engineering at Mossberg. (Exhibit D and E).

        H.      In October 2015, Bill Brown and Black Aces have their scheduled meeting. None
 of what Black Aces were being led to believe about mass civilian markets was discussed. Instead
 MOSSBERG, through Bill Brown, stated that MOSSBERG was not intending to be competition
 with Black Aces. Towards the end of the meeting, Lemoine handed a shotgun containing the
 patented magazine receiver to Bill Brown and requested that they negotiate a licensing
 agreement for the patented receiver. Bill Brown stated that MOSSBERG would consider it if
 they were not so involved with another project, "though the project is nothing like yours."

         I.     In February 2018, after MOSSBERG released the 590M, Black Aces attended a
 trade show alongside MOSSBERG, who were displaying the 590M. Lemoine confronted Bill
 Brown and told him they needed to have a sit-down about the 590M, as it contained the
 infringing technology. Bill Brown agreed that the parties would be better off working together,
 and that he would set up a meeting after his return to Connecticut. No such meeting has been
 scheduled.


 21.           Black Aces received no further communications from MOSSBERG in connection

 with the patented shotgun magazine receivers provided to MOSSBERG, and it was later

 discovered that MOSSBERG actually used these products from Black Aces to make and design

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 an infringing competitive shotgun with a shotgun magazine receiver that embodies and

 incorporates the patented technology of the ‘846 Patent.

 22.    MOSSBERG are making, offering for sale, selling, displaying, and promoting an

 infringing and competing product, and are showing the infringing product, offering it for sale,

 and are actually selling an infringing product through its own channels of trade, including

 through its dealer network.

 23.    MOSSBERG have continued to make, have made, sell, and/or offer for sale, shotguns

 that embody Black Aces’ patented technology, despite having actual knowledge of the claims of

 infringement.

 24.    MOSSBERG sells shotguns that infringe Black Aces’ ‘846 Patent, and are doing so with

 actual knowledge of Black Aces rights in the patented technology.

 25.    MOSSBERG have offered for sale and/or sold the infringing shotguns, or parts,

 throughout the United States, including within this District.

 26.    At all times, MOSSBERG have orchestrated all of the acts complained of and has

 participated in acts of infringement with full knowledge of Black Aces’ patent rights.

 27.     On information and belief, MOSSBERG have sold, offered for sale, made, or have had

 made infringing shotguns throughout the United States with actual knowledge that they comprise

 technology embodied in the ‘846 Patent.

 28.     MOSSBERG’s shotguns contain in many respects virtually identical copies of Black

 Aces’ patented technology, and are doing so to gain an unfair advantage in the market by making

 and selling a competing product under the MOSSBERG trademarks.

 29.    Clearly, MOSSBERG’s acts, and their products, support allegations of patent

 infringement, and such acts are willful.



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                      COUNT I - INFRINGEMENT OF THE ‘846 PATENT

 30.     Black Aces re-alleges and incorporates hereto by reference paragraphs 1-29 of this

 Verified Complaint as though fully set forth herein.

 31.         MOSSBERG have infringed and continue to infringe the ‘846 Patent. MOSSBERG

 have made, sold and offered for sale shotguns that are virtually identical to the design claimed in

 the ‘846 Patent, and will continue to do so unless enjoined by this Court.

 32.     In addition, and through its dealer network have induced infringement of the ‘846 Patent

 by others and has committed acts of contributory infringement of the ‘846 Patent.

 33.     MOSSBERG’s infringement of the ‘846 Patent has been willful and malicious and with

 actual or constructive knowledge that Black Aces is the owner of a patent claiming the infringed

 technology.

 34.     Black Aces have sustained damages as a result of the infringing acts of Defendants.

 35.     Plaintiffs have suffered and will continue to suffer irreparable harm unless

 infringement of the ‘846 Patent is enjoined.

         WHEREFORE, Plaintiffs, ERIC LEMOINE and BLACK ACES TACTICAL pray that

 the Court:

 A.      Enter a judgment that MOSSBERG have infringed, induced infringement and

 contributed to the infringement of U.S. Patent No. 8,756,846

 B.      Order MOSSBERG to pay damages under 35 U.S.C. §285 and §289 to adequately

 compensate Plaintiffs for their acts of patent infringement, including an award of MOSSBERG’s

 profits from its infringement of U.S. Patent No. 8,756,846 together with pre- and post-judgment

 interest;




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 C.      Find that MOSSBERG’s patent infringement was willful and malicious and award treble

 damages to Plaintiffs under 35 U.S.C. 284;

 D.      Find this to be an exceptional case of patent infringement and award reasonable

 attorneys’ fees to Plaintiffs under 35 U.S.C. §285;

 E.      Award such other and further relief as the Court deems just and equitable

                                             VERIFICATION

         I have read the factual allegations contained in the foregoing Complaint and I declare

 under penalty of perjury under the law of the United States of America that these factual

 allegations are true and correct, and for those allegations that are based upon information and

 belief, I believe those to be true and correct.

 Dated: April 15, 2018                                  By:/s/Eric Lemoine
                                                             Eric Lemoine
                                                        (original signature held in trust)


 Dated: April 15, 2018                                  Respectfully submitted,

                                                        By:/s/ Louis R. Gigliotti/
                                                        Louis R. Gigliotti, Esq.
                                                        Louis R. Gigliotti, PA
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the forgoing was filed ECF and
 served via electronic mail on this 15th day of April, 2018.



                                                 By:    /s/Louis R. Gigliotti
                                                        Louis R. Gigliotti, Esq.




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